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                             UNITED STATES DISTRICT COURT
                             FOR THE Northern District of Illinois
                                     Eastern Division

Helen Herron,

       Plaintiff,
                                                              Case No.:

       v.

Walmart Inc.,


            Defendant.

                                          COMPLAINT

       NOW COMES the Plaintiff, Helen Herron by and through her attorneys, THE LAW

OFFICES OF McCREADY, GARCIA & LEET, P.C., and in her first complaint against the

Defendant, Walmart Inc.:

                                                 PARTIES

       1.       Plaintiff, Helen Herron (“Plaintiff”) was at all times relevant to this Complaint a

       citizen of Matteson, Illinois.

       2.       Defendant Walmart Inc. is a Delaware Corporation with its principal place of

       business in Bentonville, Arkansas.

                                        JURISDICTION & VENUE

       1.       The amount requested by the Plaintiff exceeds $75,000.00.

       2.       Jurisdiction of this Court is provided by 28 U.S.C. Section 1332 due to the

       diversity of citizenship of the Plaintiff and Defendant and the amount request exceeding

       $75,000.00.

       3.       Venue is proper in this judicial district under 28 U.S.C. Section 1391(a) because

       Plaintiff resides in the District, Defendant conducts business in the District, and all events

       giving rise to Plaintiff’s claims occurred within this District.

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                                        Herron vs. Walmart Inc.

1) On or about August 2, 2020, Plaintiff was lawfully on the premises of Defendant Walmart

   Inc., located at 21000 Western Ave, Olympia Fields, Illinois 60461.

2) At all times relevant to this Complaint., Defendant Walmart Inc. owned/maintained/

   controlled and/or operated the above property.

3) Plaintiff was exercising reasonable care for her safety and was free from contributory

   negligence.

4) At all times pertinent, it was the duty of the Defendant Walmart Inc. to maintain its premise

   in a reasonably safe condition.

5) Defendant breached this duty and was negligent in one or more of the following ways:

   a) Caused the floor to have an unsafe liquid present, posing an unsafe condition to invitees;

   b) Allowed the floor in the walkway to remain in an unsafe condition when they knew or

       should have known that the liquid was present which created a hazardous condition for

       all individuals lawfully in the area;

   c) Failed to maintain premise in a reasonably safe condition;

   d) Failed to adequately inspect the premises to ensure that it was safe for the Plaintiff;

   e) Failed to remove the liquid from the floor to provide a safe place for business invitees;

   f) Failed to barricade the liquid to prevent Plaintiff from walking

       through it;

   g) Failed to instruct employees/agents to properly remove the liquid from the floor of the

       above premises;

   h) Was otherwise careless and/or negligent.

6) As a result of the negligence of Defendant, Plaintiff suffered injuries of a personal and

   pecuniary nature.

       WHEREFORE, Plaintiff, Helen Herron, prays for damages in an amount greater than

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$75,000.00 as she shall prove at trial plus costs and any other relief the Court deems just or
equitable.
                                                             Helen Herron

                                                      By:    __________________________
                                                             Michael P. McCready
                                                             Counsel for Plaintiff

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